Case 1-22-40304-jmm   Doc 68-2   Filed 04/14/22   Entered 04/14/22 17:03:48




                               Exhibit A
                           (Loan Documents)
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                                         WYNWOOD CAPITAL GROUP LLC
                                       20200 W Dixie Highway, MIAMI, FL 33180
                                                    305-487-8858

                           MERCHANT CASH ADVANCE AGREEMENT
          This is an Agreement dated 11/29/2021 by and between WYNWOOD CAPITAL GROUP LLC (“WCG”) and each
    merchant listed below (“Merchant”).

    Merchant’s Legal Name:       JAR 259 FOOD CORP


    D/B/A:                       BADSHAH FARMERS MARKET                                      Fed ID #: XX-XXXXXXX


    Type of Entity:              Corporation


    Business Address:            520 South Broadway               City: Hicksville           State: NY        Zip: 11801
    Contact Address:             520 South Broadway               City: Hicksville           State: NY        Zip: 11801


    Email Address:               amandeepmfm@yahoo.com                      Phone:



    Purchase Price
    This is the amount being paid to Merchant(s) for the Receivables Purchased Amount                $180,000.00
    (defined below).

    Receivables Purchased Amount                                                                     $269,820.00
    This is the amount of Receivables (defined in Section 1 below) being sold.

    Specified Percentage
    This is the percentage of Receivables (defined below) to be delivered until the                         20%
    Receivables Purchased Amount is paid in full.
                                                                                                         $4,497.00
    Initial Estimated Payment
    This is only applicable if an Addendum for Estimated Payments is being signed. This is                per day
    the initial amount of periodic payments collected from Merchant(s) as an approximation
    of no more than the Specified Percentage of the Receivables and is subject to
    reconciliation as set forth in Section 4 below.




                                                   TERMS AND CONDITIONS




                                    I have read and agree to the terms and conditions set forth above:

                                    ______________________________________________________________________

                                    Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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             1. Sale of Future Receipts. Merchant(s) hereby sell, assign, and transfer to WCG (making WCG the absolute
    owner) in consideration of the funds provided (“Purchase Price”) specified above, all of each Merchant’s future accounts,
    contract rights, and other obligations arising from or relating to the payment of monies from each Merchant’s customers
    and/or other third party payors (the “Receivables”, defined as all payments made by cash, check, credit or debit card,
    electronic transfer, or other form of monetary payment in the ordinary course of each merchant’s business), for the
    payment of each Merchant’s sale of goods or services until the amount specified above (the “Receivables Purchased
    Amount”) has been delivered by Merchant(s) to WCG. Each Merchant hereby acknowledges that until the Receivables
    Purchased Amount has been received in full by WCG, each Merchant’s Receivables, up to the balance of the Receivables
    Purchased Amount, are the property of WCG and not the property of any Merchant. Each Merchant agrees that it is a
    fiduciary for WCG and that each Merchant will hold Receivables in trust for WCG in its capacity as a fiduciary for WCG.
             The Receivables Purchased Amount shall be paid to WCG by each Merchant irrevocably authorizing only one
    depositing account acceptable to WCG (the “Account”) to remit the percentage specified above (the “Specified
    Percentage”) of each Merchant’s settlement amounts due from each transaction, until such time as WCG receives
    payment in full of the Receivables Purchased Amount. Each Merchant hereby authorizes WCG to ACH debit the specified
    remittances from the Account on a daily basis as of the next business day after the date of this Agreement and will provide
    WCG with all required access codes and monthly bank statements. Each Merchant understands that it will be held
    responsible for any fees resulting from a rejected ACH attempt or an Event of Default (see Section 2). WCG is not
    responsible for any overdrafts or rejected transactions that may result from WCG’s ACH debiting the Specified Percentage
    amounts under the terms of this Agreement.

            2. Additional Fees. In addition to the Receivables Purchased Amount, each Merchant will be held responsible to
    WCG for the following fees, where applicable:
            A. $17,999.00 - to cover underwriting and the ACH debit program, as well as related expenses. This will be
    deducted from payment of the Purchase Price.
            B. Wire Fee ‐ Merchant(s) shall receive funding electronically to the Account and will be charged $50.00 for a Fed
    Wire or $0.00 for a bank ACH. This will be deducted from payment of the Purchase Price.
            C. Blocked Account/Default ‐ $2,500.00 ‐ If WCG considers an Event of Default to have taken place under Section
    34.
            D. UCC Fee ‐ $395.00 – to cover WCG filing a UCC-1 financing statement to secure its interest in the
    Receivables Purchased Amount. A $395.00 UCC termination fee will be charged if a UCC filing is terminated.
            E. Court costs, arbitration fees, collection agency fees, attorney fees, expert fees, and any other expenses
    incurred in litigation, arbitration, or the enforcement of any of WCG’s legal or contractual rights against each Merchant
    and/or each Guarantor, if required, as explained in other Sections of this Agreement.

             3. Cap on Collection of the Receivables Purchased Amount. The amount that WCG will collect from
    Merchant(s) towards the Receivables Purchased Amount during any specific day will be capped at $4,497.00 (the “Cap”).
    If the Specified Percentage of all Receivables for a specific day is less than the Cap, then in addition to the Specified
    Percentage of Receivables for that day, WCG will be permitted to collect any Receivables it did not previously collect due
    to the Cap such that the total amount collected during that day does not exceed the Cap. The Cap is not applicable to
    make up for a business day on which WCG is closed and does not ACH debit the Account, to subsequent attempts to
    collect a rejected or blocked ACH payment, or for the collection of any of the fees listed in Section 2 or if any Event of
    Default listed in Section 34 is considered by WCG to have taken place.

             4. Reconciliations. Any Merchant may give written notice to WCG requesting that WCG conduct a reconciliation
    in order to ensure that the amount that WCG has collected equals the Specified Percentage of Merchant(s)’s Receivables
    under this Agreement. Any Merchant may give written notice requesting a reconciliation. A reconciliation may also be
    requested by e-mail to and such notice will be deemed to have been received if and when WCG sends a reply e-mail (but
    not a read receipt). If such reconciliation determines that WCG collected more than it was entitled to, then WCG will credit
    to the Account all amounts to which WCG was not entitled within seven days thereafter. If such reconciliation determines
    that WCG collected less than it was entitled to, then WCG will debit from the Account all additional amounts to which
    WCG was entitled within seven days thereafter. In order to effectuate this reconciliation, any Merchant must produce with
    its request the login and password for the Account and any and all bank statements and merchant statements covering

                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

                                     Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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    the period from the date of this Agreement through the date of the request for a reconciliation. WCG will complete each
    such reconciliation within two business days after receipt of a written request for one accompanied by the information and
    documents required for it. Nothing herein limits the amount of times that such a reconciliation may be requested.

             5. Prepayments. Although there is no obligation to do so, any Merchant may prepay any amount towards the
    Receivables Purchased Amount. There will be no penalty for any prepayment made by any Merchant. Any Merchant may
    elect to terminate this Agreement by prepaying WCG the amount of the balance of the Receivables Purchased Amount at
    that time.

             6. Merchant Deposit Agreement. Merchant(s) shall appoint a bank acceptable to WCG, to obtain electronic fund
    transfer services and/or “ACH” payments. Merchant(s) shall provide WCG and/or its authorized agent with all of the
    information, authorizations, and passwords necessary to verify each Merchant’s Receivables. Merchant(s) shall authorize
    WCG and/or its agent(s) to deduct the amounts owed to WCG for the Receivables as specified herein from settlement
    amounts which would otherwise be due to each Merchant and to pay such amounts to WCG by permitting WCG to
    withdraw the Specified Percentage by ACH debiting of the account. The authorization shall be irrevocable absent WCG’s
    written consent.

            7. Term of Agreement. The term of this Agreement is indefinite and shall continue until WCG receives the full
    Receivables Purchased Amount, or earlier if terminated pursuant to any provision of this Agreement. The provisions of
    Sections 4, 6, 7, 8, 10, 11, 13, 14, 15, 17, 18, 19, 22, 23, 28, 31, 32, 33, 34, 35, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47,
    48, 49, 50, 51, 52, 53, 54, 55, 56, 57, and 58 shall survive any termination of this Agreement.

            8. Ordinary Course of Business. Each Merchant acknowledges that it is entering into this Agreement in the
    ordinary course of its business and that the payments to be made from each Merchant to WCG under this Agreement are
    being made in the ordinary course of each Merchant’s business.

             9. Financial Condition. Each Merchant and each Guarantor (Guarantor being defined as each signatory to the
    Guarantee of this Agreement) authorizes WCG and its agent(s) to investigate each Merchant’s financial responsibility and
    history, and will provide to WCG any bank or financial statements, tax returns, and other documents and records, as WCG
    deems necessary prior to or at any time after execution of this Agreement. A photocopy of this authorization will be
    deemed as acceptable for release of financial information. WCG is authorized to update such information and financial
    profiles from time to time as it deems appropriate.

             10. Monitoring, Recording, and Electronic Communications. WCG may choose to monitor and/or record
    telephone calls with any Merchant and its owners, employees, and agents. By signing this Agreement, each Merchant
    agrees that any call between WCG and any Merchant or its representatives may be monitored and/or recorded. Each
    Merchant and each Guarantor grants access for WCG to enter any Merchant’s premises and to observe any Merchant’s
    premises without any prior notice to any Merchant at any time after execution of this Agreement.
             WCG may use automated telephone dialing, text messaging systems, and e-mail to provide messages to
    Merchant(s), Owner(s) (Owner being defined as each person who signs this Agreement on behalf of a Merchant), and
    Guarantor(s) about Merchant(s)’s account. Telephone messages may be played by a machine automatically when the
    telephone is answered, whether answered by an Owner, a Guarantor, or someone else. These messages may also be
    recorded by the recipient’s answering machine or voice mail. Each Merchant, each Owner, and each Guarantor gives
    WCG permission to call or send a text message to any telephone number given to WCG in connection with this
    Agreement and to play pre-recorded messages and/or send text messages with information about this Agreement and/or
    any Merchant’s account over the phone. Each Merchant, each Owner, and each Guarantor also gives WCG permission to
    communicate such information to them by e-mail. Each Merchant, each Owner, and each Guarantor agree that WCG will
    not be liable to any of them for any such calls or electronic communications, even if information is communicated to an
    unintended recipient. Each Merchant, each Owner, and each Guarantor acknowledge that when they receive such calls or
    electronic communications, they may incur a charge from the company that provides them with telecommunications,
    wireless, and/or Internet services, and that WCG has no liability for any such charges.



                                      I have read and agree to the terms and conditions set forth above:

                                      ______________________________________________________________________

                                      Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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             11. Accuracy of Information Furnished by Merchant and Investigation Thereof. To the extent set forth herein,
    each of the parties is obligated upon his, her, or its execution of the Agreement to all terms of the Agreement. Each
    Merchant and each Owner signing this Agreement represent that he or she is authorized to sign this Agreement for each
    Merchant, legally binding said Merchant to its obligations under this Agreement and that the information provided herein
    and in all of WCG’s documents, forms, and recorded interview(s) is true, accurate, and complete in all respects. WCG
    may produce a monthly statement reflecting the delivery of the Specified Percentage of Receivables from Merchant(s) to
    WCG. An investigative report may be made in connection with the Agreement. Each Merchant and each Owner signing
    this Agreement authorize WCG, its agents and representatives, and any credit‐reporting agency engaged by WCG, to (i)
    investigate any references given or any other statements obtained from or about each Merchant or any of its Owners for
    the purpose of this Agreement, and (ii) pull credit report at any time now or for so long as any Merchant and/or Owners(s)
    continue to have any obligation to WCG under this Agreement or for WCG’s ability to determine any Merchant’s eligibility
    to enter into any future agreement with WCG. Any misrepresentation made by any Merchant or Owner in connection with
    this Agreement may constitute a separate claim for fraud or intentional misrepresentation.
             Authorization for soft pulls: Each Merchant and each Owner understands that by signing this Agreement, they are
    providing ‘written instructions’ to WCG under the Fair Credit Reporting Act, authorizing WCG to obtain information from
    their personal credit profile or other information from Experian, TransUnion, and Equifax. Each Merchant and each
    Guarantor authorizes WCG to obtain such information solely to conduct a pre-qualification for credit.
             Authorization for hard pulls: Each Merchant and each Owner understands that by signing this Agreement, they are
    providing ‘written instructions’ to WCG under the Fair Credit Reporting Act, authorizing WCG to obtain information from
    their personal credit profile or other information from Experian, TransUnion, and Equifax. Each Merchant and each
    Guarantor authorizes WCG to obtain such information in accordance with a merchant cash advance application.

           12. Transactional History. Each Merchant authorizes its bank to provide WCG with its banking and/or credit card
    processing history.

             13. Indemnification. Each Merchant and each Guarantor jointly and severally indemnify and hold harmless each
    Merchant’s credit card and check processors (collectively, “Processor”) and Processor’s officers, directors, and
    shareholders against all losses, damages, claims, liabilities, and expenses (including reasonable attorney and expert
    fees) incurred by Processor resulting from (a) claims asserted by WCG for monies owed to WCG from any Merchant and
    (b) actions taken by any Processor in reliance upon information or instructions provided by WCG.

            14. No Liability. In no event will WCG be liable for any claims asserted by any Merchant under any legal theory
    for lost profits, lost revenues, lost business opportunities, exemplary, punitive, special, incidental, indirect, or
    consequential damages, each of which is waived by each Merchant and each Guarantor.

             15. Sale of Receivables. Each Merchant and WCG agree that the Purchase Price under this Agreement is in
    exchange for the Receivables Purchased Amount and that such Purchase Price is not intended to be, nor shall it be
    construed as a loan from WCG to any Merchant. WCG is entering into this Agreement knowing the risks that each
    Merchant’s business may decline or fail, resulting in WCG not receiving the Receivables Purchased Amount. Each
    Merchant agrees that the Purchase Price in exchange for the Receivables pursuant to this Agreement equals the fair
    market value of such Receivables. WCG has purchased and shall own all the Receivables described in this Agreement up
    to the full Receivables Purchased Amount as the Receivables are created. Payments made to WCG in respect to the full
    amount of the Receivables shall be conditioned upon each Merchant’s sale of products and services and the payment
    therefor by each Merchant’s customers in the manner provided in this Agreement. Although certain jurisdictions require
    the disclosure of an Annual Percentage Rate or APR in connection with this Agreement, those disclosures do not change
    the fact that the transaction encompassed by this Agreement is not a loan and does not have an interest rate.

             16. Power of Attorney. Each Merchant irrevocably appoints WCG as its agent and attorney-in-fact with full
    authority to take any action or execute any instrument or document to settle all obligations due to WCG, or, if WCG
    considers an Event of Default to have taken place under Section 34, to settle all obligations due to WCG from each
    Merchant, including without limitation (i) to obtain and adjust insurance; (ii) to collect monies due or to become due under
    or in respect of any of the Collateral (which is defined in Section 33); (iii) to receive, endorse and collect any checks,


                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

                                     Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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    notes, drafts, instruments, documents, or chattel paper in connection with clause (i) or clause (ii) above; (iv) to sign each
    Merchant’s name on any invoice, bill of lading, or assignment directing customers or account debtors to make payment
    directly to WCG; and (v) to file any claims or take any action or institute any proceeding which WCG may deem necessary
    for the collection of any of the unpaid Receivables Purchased Amount from the Collateral, or otherwise to enforce its rights
    with respect to payment of the Receivables Purchased Amount.

             17. Protections Against Default. The following Protections 1 through 7 may be invoked by WCG, immediately
    and without notice to any Merchant in the event:
             (a) Any Merchant takes any action to discourage the use of methods of payment ordinarily and customarily used
    by its customers or permits any event to occur that could have an adverse effect on the use, acceptance, or authorization
    of checks and credit cards for the purchase of any Merchant’s services and products;
             (b) Any Merchant changes its arrangements with any Processor in any way that is adverse to WCG;
             (c) Any Merchant changes any Processor through which the Receivables are settled to another electronic check
    and/or credit card processor or permits any event to occur that could cause diversion of any Merchant’s check and/or
    credit card transactions to another such processor;
             (d) Any Merchant interrupts the operation of its business (other than adverse weather, natural disasters, or acts of
    God) or transfers, moves, sells, disposes, or otherwise conveys its business or assets without (i) the express prior written
    consent of WCG and (ii) the written agreement of any purchaser or transferee to the assumption of all of any Merchant’s
    obligations under this Agreement pursuant to documentation satisfactory to WCG; or
             (e) Any Merchant takes any action, fails to take any action, or offers any incentive—economic or otherwise—the
    result of which will be to induce any customer or customers to pay for any Merchant’s goods or services with any means
    other than checks and/or credit cards that are settled through Processor. These protections are in addition to any other
    remedies available to WCG at law, in equity, or otherwise available pursuant to this Agreement.
             (f) WCG considers any Event of Default listed in Section 34 to have taken place.
             Protection 1: The full uncollected Receivables Purchased Amount plus all fees due under this Agreement may
    become due and payable in full immediately.
             Protection 2. WCG may enforce the provisions of the Guarantee against Guarantor.
             Protection 3. WCG may enforce its security interest in the Collateral identified in Section 33.
             Protection 4. WCG may proceed to protect and enforce its rights and remedies by litigation or arbitration.
             Protection 5. If requested by WCG, Merchant shall deliver to WCG an executed assignment of lease of each
    Merchant’s premises in favor of WCG. Upon breach of any provision in this Section 17, WCG may exercise its rights
    under such assignment of lease.
             Protection 6. WCG may debit any Merchant’s depository accounts wherever situated by means of ACH debit or
    electronic or facsimile signature on a computer-generated check drawn on any Merchant’s bank account or otherwise, in
    an amount consistent with the terms of this Agreement.
             Protection 7. WCG will have the right, without waiving any of its rights and remedies and without notice to any
    Merchant and/or Guarantor, to notify each Merchant’s credit card and/or check processor of the sale of Receivables
    hereunder and to direct such credit card processor to make payment to WCG of all or any portion of the amounts received
    by such credit card processor on behalf of each Merchant. Each Merchant hereby grants to WCG an irrevocable power-
    of-attorney, which power-of-attorney will be coupled with an interest, and hereby appoints WCG and its representatives as
    each Merchant’s attorney-in-fact to take any and all action necessary to direct such new or additional credit card and/or
    check processor to make payment to WCG as contemplated by this Section.

             18. Protection of Information. Each Merchant and each person signing this Agreement on behalf of each
    Merchant and/or as Owner, in respect of himself or herself personally, authorizes WCG to disclose information concerning
    each Merchant, Owner and/or Guarantor’s credit standing and business conduct to agents, affiliates, subsidiaries, and
    credit reporting bureaus. Each Merchant, Guarantor, and Owner hereby waives to the maximum extent permitted by law
    any claim for damages against WCG or any of its affiliates relating to any (i) investigation undertaken by or on behalf of
    WCG as permitted by this Agreement or (ii) disclosure of information as permitted by this Agreement.

            19. Confidentiality. Each Merchant understands and agrees that the terms and conditions of the products and
    services offered by WCG, including this Agreement and any other WCG documents (collectively, “Confidential


                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

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    Information”) are proprietary and confidential information of WCG. Accordingly, unless disclosure is required by law or
    court order, Merchant(s) shall not disclose Confidential Information of WCG to any person other than an attorney,
    accountant, financial advisor, or employee of any Merchant who needs to know such information for the purpose of
    advising any Merchant (“Advisor”), provided such Advisor uses such information solely for the purpose of advising any
    Merchant and first agrees in writing to be bound by the terms of this Section 19.

              20. D/B/As. Each Merchant hereby acknowledges and agrees that WCG may be using “doing business as” or
    “d/b/a” names in connection with various matters relating to the transaction between WCG and each Merchant, including
    the filing of UCC-1 financing statements and other notices or filings.

             21. Financial Condition and Financial Information. Each Merchant represents, warrants, and covenants that its
    bank and financial statements, copies of which have been furnished to WCG, and future statements which will be
    furnished hereafter at the request of WCG, fairly represent the financial condition of each Merchant at such dates, and
    that since those dates there have been no material adverse changes, financial or otherwise, in such condition, operation,
    or ownership of any Merchant. Each Merchant has a continuing affirmative obligation to advise WCG of any material
    adverse change in its financial condition, operation, or ownership.

            22. Governmental Approvals. Each Merchant represents, warrants, and covenants that it is in compliance and
    shall comply with all laws and has valid permits, authorizations, and licenses to own, operate, and lease its properties and
    to conduct the business in which it is presently engaged.

          23. Authorization. Each Merchant represents, warrants, and covenants that it and each person signing this
    Agreement on behalf of each Merchant has full power and authority to incur and perform the obligations under this
    Agreement, all of which have been duly authorized.

            24. Insurance. Each Merchant represents, warrants, and covenants that within ten days after written notice of a
    request by WCG, Merchant(s) will maintain business‐interruption insurance naming WCG as loss payee and additional
    insured in amounts and against risks as are satisfactory to WCG and shall provide WCG proof of such insurance upon
    request.

            25. Electronic Check Processing Agreement. Each Merchant represents, warrants, and covenants that it will
    not, without WCG’s prior written consent, change its Processor, add terminals, change its financial institution or bank
    account, or take any other action that could have any adverse effect upon any Merchant’s obligations under this
    Agreement.

           26. Change of Name or Location. Each Merchant represents, warrants, and covenants that it will not conduct its
    business under any name other than as disclosed to WCG or change any place(s) of its business without prior written
    consent from WCG.

             27. Estoppel Certificate. Each Merchant represents, warrants, and covenants that it will, at any time, and from
    time to time, upon at least two day’s prior notice from WCG to that Merchant, execute, acknowledge, and deliver to WCG
    and/or to any other person or entity specified by WCG, a statement certifying that this Agreement is unmodified and in full
    force and effect (or, if there have been modifications, that the same is in full force and effect as modified and stating the
    modifications) and stating the dates which the Receivables Purchased Amount or any portion thereof have been paid.

            28. No Bankruptcy. Each Merchant represents, warrants, and covenants that as of the date of this Agreement, it
    does not contemplate and has not filed any petition for bankruptcy protection under Title 11 of the United States Code and
    there has been no involuntary petition brought or pending against any Merchant. Each Merchant further warrants that it
    does not anticipate filing any such bankruptcy petition and it does not anticipate that an involuntary petition will be filed
    against it. Each Merchant further warrants that there will be no statutory presumption that it would have been insolvent on
    the date of this Agreement.



                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

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              29. Unencumbered Receivables. Each Merchant represents, warrants, and covenants that it has good,
    complete, and marketable title to all Receivables, free and clear of any and all liabilities, liens, claims, changes,
    restrictions, conditions, options, rights, mortgages, security interests, equities, pledges, and encumbrances of any kind or
    nature whatsoever or any other rights or interests that may be inconsistent with this Agreement or adverse to the interests
    of WCG, other than any for which WCG has actual or constructive knowledge as of the date of this Agreement.

             30. Stacking. Each Merchant represents, warrants, and covenants that it will not enter into with any party other
    than WCG any arrangement, agreement, or commitment that relates to or involves the Receivables, whether in the form
    of a purchase of, a loan against, collateral against, or the sale or purchase of credits against Receivables without the prior
    written consent of WCG.

            31. Business Purpose. Each Merchant represents, warrants, and covenants that it is a valid business in good
    standing under the laws of the jurisdictions in which it is organized and/or operates, and each Merchant is entering into
    this Agreement for business purposes and not as a consumer for personal, family, or household purposes.

            32. Default Under Other Contracts. Each Merchant represents, warrants, and covenants that its execution of
    and/or performance under this Agreement will not cause or create an event of default by any Merchant under any contract
    with another person or entity.

             33. Security Interest. To secure each Merchant’s payment and performance obligations to WCG under this
    Agreement and any future agreement with WCG, each Merchant hereby grants to WCG a security interest in collateral
    (the “Collateral”), that is defined as collectively: (a) all accounts, including without limitation, all deposit accounts,
    accounts‐receivable, and other receivables, chattel paper, documents, equipment, general intangibles, instruments, and
    inventory, as those terms are defined by Article 9 of the Uniform Commercial Code (the “UCC”), now or hereafter owned
    or acquired by any Merchant; and (b) all proceeds, as that term is defined by Article 9 of the UCC. The parties
    acknowledge and agree that any security interest granted to WCG under any other agreement between any Merchant or
    Guarantor and WCG (the “Cross‐Collateral”) will secure the obligations hereunder and under this Agreement. Negative
    Pledge: Each Merchant agrees not to create, incur, assume, or permit to exist, directly or indirectly, any lien on or with
    respect to any of the Collateral or the Cross‐Collateral, as applicable.
             Each Merchant agrees to execute any documents or take any action in connection with this Agreement as WCG
    deems necessary to perfect or maintain WCG’s first priority security interest in the Collateral and the Cross ‐Collateral,
    including the execution of any account control agreements. Each Merchant hereby authorizes WCG to file any financing
    statements deemed necessary by WCG to perfect or maintain WCG’s security interest, which financing statements may
    contain notification that each Merchant has granted a negative pledge to WCG with respect to the Collateral and the
    Cross‐Collateral, and that any subsequent lienor may be tortiously interfering with WCG’s rights. Each Merchant shall be
    liable for and WCG may charge and collect all costs and expenses, including but not limited to attorney fees, which may
    be incurred by WCG in protecting, preserving, and enforcing WCG’s security interest and rights. Each Merchant further
    acknowledges that WCG may use another legal name and/or D/B/A or an agent when designating the Secured Party
    when WCG files the above‐referenced financing statement(s).

             34. Events of Default. An “Event of Default” may be considered to have taken place if any of the following occur:
             (1) Any Merchant violates any term or covenant in this Agreement;
             (2) Any representation or warranty by any Merchant in any Agreement with WCG that has not been terminated
    proves to have been incorrect, false, or misleading in any material respect when made;
             (3) Any Merchant fails to provide WCG with written notice of any material change in its financial condition,
    operation, or ownership within seven days thereafter (unless a different notice period is specifically provided for elsewhere
    in this Agreement;
             (4) the sending of notice of termination by any Merchant or Guarantor;
             (5) Any Merchant transports, moves, interrupts, suspends, dissolves, or terminates its business without the prior
    written consent of WCG other than a bankruptcy filing;
             (6) Any Merchant transfers or sells all or substantially all of its assets without the prior written consent of WCG;
             (7) Any Merchant makes or sends notice of any intended bulk sale or transfer by any Merchant without the prior

                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

                                     Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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    written consent of WCG;
             (8) Any Merchant uses multiple depository accounts without the prior written consent of WCG;
             (9) Any Merchant changes the Account without the prior written consent of WCG;
             (10) WCG is not provided with updated login or password information for the Account within one business day
    after any such change is made by any Merchant;
             (11) Any Merchant fails to send bank statements, merchant account statements, or bank login information for the
    Account within two business days after a written request for same is made by WCG;
             (12) Any Merchant performs any act that reduces the value of any Collateral granted under this Agreement;
             (13) Any Merchant fails to deposit its Receivables into the Account;
             (14) Any Merchant causes any ACH debit to the Account by WCG to be blocked or stopped without providing any
    advance written notice to WCG, which notice may be given by e-mail to ; or
             (15) Any Merchant prevents WCG from collecting any part of the Receivables Purchased Amount;
             (16) Any Merchant causes any ACH debit to the Account to be stopped or otherwise returned that would result in
    an ACH Return Code of R08, R10, or R29 and that Merchant does not within two business days thereafter provide WCG
    with written notice thereof explaining why that Merchant caused the ACH debit to be stopped or otherwise returned, which
    notice may be given by e-mail to ; or
             (17) Any Merchant defaults under any of the terms, covenants, and conditions of any other agreement with WCG.

              35. Remedies. In case any Event of Default occurs and is not waived, WCG may proceed to protect and enforce
    its rights or remedies by suit in equity or by action at law, or both, whether for the specific performance of any covenant,
    agreement, or other provision contained herein, or to enforce the discharge of each Merchant’s obligations hereunder, or
    any other legal or equitable right or remedy. All rights, powers, and remedies of WCG in connection with this Agreement,
    including each Protection listed in Section 17, may be exercised at any time by WCG after the occurrence of an Event of
    Default, are cumulative and not exclusive, and will be in addition to any other rights, powers, or remedies provided by law
    or equity. In addition to the foregoing, in case any Event of Default occurs and is not waived, WCG will be entitled to the
    issuance of an injunction, restraining order, or other equitable relief in WCG’s favor, subject to court or arbitrator approval,
    restraining each Merchant’s accounts and/or receivables up to the amount due to WCG as a result of the Event of Default,
    and each Merchant will be deemed to have consented to the granting of an application for the same to any court or
    arbitral tribunal of competent jurisdiction without any prior notice to any Merchant or Guarantor and without WCG being
    required to furnish a bond or other undertaking in connection with the application.

              36. Required Notifications. Each Merchant is required to give WCG written notice at least one day prior to any
    filing under Title 11 of the United States Code. Merchant(s) are required to give WCG at least seven days’ written notice
    prior to the closing of any sale of all or substantially all of any Merchant’s assets or stock.

             37. Assignment. This Agreement shall be binding upon and inure to the benefit of the parties and their respective
    successors and assigns, except that Merchant(s) shall not have the right to assign its rights hereunder or any interest
    herein without the prior written consent of WCG, which consent may be withheld in WCG’s sole discretion. WCG may
    assign, transfer, or sell its rights under this Agreement, including, without limitation, its rights to receive the Receivables
    Purchased Amount, and its rights under Section 33 of this Agreement, the Guarantee, and any other agreement,
    instrument, or document executed in connection with the transactions contemplated by this Agreement (a “Related
    Agreement”), or delegate its duties hereunder or thereunder, either in whole or in part. From and after the effective date of
    any such assignment or transfer by WCG, whether or not any Merchant has actual notice thereof, this Agreement and
    each Related Agreement shall be deemed amended and modified (without the need for any further action on the part of
    any Merchant or WCG) such that the assignee shall be deemed a party to this Agreement and any such Related
    Agreement and, to the extent provided in the assignment document between WCG and such assignee (the “Assignment
    Agreement”), have the rights and obligations of WCG under this Agreement and such Related Agreements with respect to
    the portion of the Receivables Purchased Amount set forth in such Assignment Agreement, including but not limited to
    rights in the Receivables, Collateral and Additional Collateral, the benefit of each Guarantor’s guaranty regarding the full
    and prompt performance of every obligation that is a subject of the Guarantee, WCG’s rights under Section 17 of this
    Agreement (Protections Against Default), and to receive damages from any Merchant following a breach of this
    Agreement by any Merchant. In connection with such assignment, WCG may disclose all information that WCG has


                                      I have read and agree to the terms and conditions set forth above:

                                      ______________________________________________________________________

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    relating to any Merchant or its business. Each Merchant agrees to acknowledge any such assignment in writing upon
    WCG’s request.

             38. Notices. All notices, requests, consents, demands, and other communications hereunder shall be delivered
    by certified mail, return receipt requested, or by overnight delivery with signature confirmation to the respective parties to
    this Agreement at their addresses set forth in this Agreement and shall become effective only upon receipt. Written notice
    may also be given to any Merchant or Guarantor by e-mail to the E-mail Address listed on the first page of this Agreement.
    Each Merchant must set its spam or junk mail filter to accept e-mails sent by and its domain. This Section is not
    applicable to service of process or notices in any legal proceedings.

            39. Choice of Law. Each Merchant acknowledges and agrees that this Agreement was made in the State of New
    York, that the Purchase Price is being paid by WCG in the State of New York, that the Receivables Purchased Amount is
    being delivered to WCG in the State of New York, and that the State of New York has a reasonable relationship to the
    transactions encompassed by this Agreement. This Agreement and the relationship between WCG, each Merchant, and
    each Guarantor will be governed by and construed in accordance with the laws of the State of New York, without regard to
    any applicable principles of conflict of laws.

             40. Venue and Forum Selection. Any litigation relating to this Agreement or involving WCG on one side and any
    Merchant or any Guarantor on the other must be commenced and maintained in any court located in the Counties of
    Nassau, Kings, New York, or Sullivan in the State of New York (the “Acceptable Forums”). The parties agree that the
    Acceptable Forums are convenient, submit to the jurisdiction of the Acceptable Forums, and waive any and all objections
    to the jurisdiction or venue of the Acceptable Forums. If any litigation is initiated in any other venue or forum, the parties
    waive any right to oppose any motion or application made by any party to transfer such litigation to an Acceptable Forum.
    The parties agree that this Agreement encompasses the transaction of business within the City of New York and that the
    Civil Court of the City of New York (“Civil Court”) will have jurisdiction over any litigation relating to this Agreement that is
    within the jurisdictional limit of the Civil Court. In addition to the Acceptable Forums, any action or proceeding to enforce a
    judgment or arbitration award against any Merchant or Guarantor or to restrain or collect any amount due to WCG may be
    commenced and maintained in any other court of competent jurisdiction.

            41. Jury Waiver. The parties agree to waive trial by jury in any dispute between them.

           42. Counterclaim Waiver. In any litigation or arbitration commenced by WCG, each Merchant and each
    Guarantor will not be permitted to interpose any counterclaim.

          43. Statutes of Limitations. Each Merchant and each Guarantor agree that any claim that is not asserted against
    WCG within one year of its accrual will be time barred.

           44. Costs. Each Merchant and each Guarantor must pay all of WCG’s reasonable costs associated with a breach
    by any Merchant of the covenants in this Agreement and the enforcement thereof, including but not limited to collection
    agency fees, attorney fees, which may include a contingency fee of up to 40% of the amount claimed, expert witness fees,
    and costs of suit.

             45. Prejudgment and Postjudgment Interest. If WCG becomes entitled to the entry of a judgment against any
    Merchant or any Guarantor, then WCG will be entitled to the recovery of prejudgment interest at a rate of 24% per annum
    (or 16% per annum if any Merchant is a sole proprietorship), or the maximum rate permitted by applicable law if less, and
    upon entry of any such judgment, it will accrue interest at a postjudgment rate of 24% per annum (or 16% per annum if
    any Merchant is a sole proprietorship), or the maximum rate permitted by applicable law if less, which rate will govern over
    the statutory rate of interest up until actual satisfaction of the judgment.

            46. Legal Fees. If WCG prevails in any litigation or arbitration with any Merchant or any Guarantor, then that
    Merchant and/or Guarantor must pay WCG’s reasonable attorney fees, which may include a contingency fee of up to 40%
    of the amount claimed.


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            47. Class Action Waiver. WCG, each Merchant, and each Guarantor agree that they may bring claims against
    each other relating to this Agreement only in their individual capacities, and not as a plaintiff or class action member in any
    purported class or representative proceedings.

              48. Arbitration. Any action or dispute relating to this Agreement or involving WCG on one side and any Merchant
    or any Guarantor on the other, including, but not limited to issues of arbitrability, will, at the option of any party to such
    action or dispute, be determined by arbitration before a single arbitrator. The arbitration will be administered either by
    Arbitration Services, Inc. under its Commercial Arbitration Rules as are in effect at that time, which rules are available at
    www.arbitrationservicesinc.com, or by Mediation & Civil Arbitration, Inc. under its Commercial Arbitration Rules as are in
    effect at that time, which rules are available at www.mcarbitration.org. Once an arbitration is initiated with one of these
    arbitral forums, it must be maintained exclusively before that arbitral forum and the other arbitral forum specified herein
    may not be used. Any arbitration relating to this Agreement must be conducted in the Counties of Nassau, New York,
    Queens, or Kings in the State of New York. Notwithstanding any provision of any applicable arbitration rules, any witness
    in an arbitration who does not reside in or have a place for the regular transaction of business located in New York City or
    the Counties of Nassau, Suffolk, or Westchester in the State of New York will be permitted to appear and testify remotely
    by telephone or video conferencing. In case any Event of Default occurs and is not waived, each Merchant and each
    Guarantor consents to WCG making an application to the arbitrator, without notice to any Merchant or any Guarantor, for
    the issuance of an injunction, restraining order, or other equitable relief in WCG’s favor, subject to court or arbitrator
    approval, restraining each Merchant’s accounts and/or receivables up to the amount due to WCG as a result of the Event
    of Default.
              Each Merchant acknowledges and agrees that this Agreement is the product of communications conducted by
    telephone and the Internet, which are instrumentalities of interstate commerce, that the transactions contemplated under
    this Agreement will be made by wire transfer and ACH, which are also instrumentalities of interstate commerce, and that
    this Agreement therefore evidences a transaction affecting interstate commerce. Accordingly, notwithstanding any
    provision in this Agreement to the contrary, all matters of arbitration relating to this Agreement will be governed by and
    construed in accordance with the provisions of the Federal Arbitration Act, codified as Title 9 of the United States Code,
    however any application for injunctive relief in aid of arbitration or to confirm an arbitration award may be made under
    Article 75 of the New York Civil Practice Law and Rules. The arbitration agreement contained in this Section may also be
    enforced by any employee, agent, attorney, member, manager, officer, subsidiary, affiliate entity, successor, or assign of
    WCG.

             49. Service of Process. Each Merchant and each Guarantor consent to service of process and legal notices
    made by First Class or Priority Mail delivered by the United States Postal Service and addressed to the Contact Address
    set forth on the first page of this Agreement or any other address(es) provided in writing to WCG by any Merchant or any
    Guarantor, and unless applicable law or rules provide otherwise, any such service will be deemed complete upon
    dispatch. Each Merchant and each Guarantor agrees that it will be precluded from asserting that it did not receive service
    of process or any other notice mailed to the Contact Address set forth on the first page of this Agreement if it does not
    furnish a certified mail return receipt signed by WCG demonstrating that WCG was provided with notice of a change in the
    Contact Address.

            50. Survival of Representation, etc. All representations, warranties, and covenants herein shall survive the
    execution and delivery of this Agreement and shall continue in full force until all obligations under this Agreement shall
    have been satisfied in full and this Agreement shall have terminated unless specified otherwise in this Agreement.

            51. Waiver. No failure on the part of WCG to exercise, and no delay in exercising, any right under this Agreement,
    shall operate as a waiver thereof, nor shall any single or partial exercise of any right under this Agreement preclude any
    other or further exercise thereof or the exercise of any other right. The remedies provided hereunder are cumulative and
    not exclusive of any remedies provided by law or equity.

           52. Independent Sales Organizations/Brokers. Each Merchant and each Guarantor acknowledge that it may
    have been introduced to WCG by or received assistance in entering into this Agreement or its Guarantee from an


                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

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    independent sales organization or broker (“ISO”). Each Merchant and each Guarantor agree that any ISO is separate
    from and is not an agent or representative of WCG. Each Merchant and each Guarantor acknowledge that WCG is not
    bound by any promises or agreements made by any ISO that are not contained within this Agreement. Each Merchant
    and each Guarantor exculpate from liability and agree to hold harmless and indemnify WCG and its officers, directors,
    members, shareholders, employees, and agents from and against all losses, damages, claims, liabilities, and expenses
    (including reasonable attorney and expert fees) incurred by any Merchant or any Guarantor resulting from any act or
    omission by any ISO. Each Merchant and each Guarantor acknowledge that any fee that they paid to any ISO for its
    services is separate and apart from any payment under this Agreement. Each Merchant and each Guarantor acknowledge
    that WCG does not in any way require the use of an ISO and that any fees charged by any ISO are not required as a
    condition or incident to this Agreement.

          53. Modifications; Agreements. No modification, amendment, waiver, or consent of any provision of this
    Agreement shall be effective unless the same shall be in writing and signed by all parties.

            54. Severability. If any provision of this Agreement is deemed invalid or unenforceable as written, it will be
    construed, to the greatest extent possible, in a manner which will render it valid and enforceable, and any limitation on the
    scope or duration of any such provision necessary to make it valid and enforceable will be deemed to be part thereof. If
    any provision of this Agreement is deemed void, all other provisions will remain in effect.

            55. Headings. Headings of the various articles and/or sections of this Agreement are for convenience only and do
    not necessarily define, limit, describe, or construe the contents of such articles or sections.

            56. Attorney Review. Each Merchant acknowledges that it has had an opportunity to review this Agreement and
    all addenda with counsel of its choosing before signing the documents or has chosen not to avail itself of the opportunity
    to do so.

             57. Entire Agreement. This Agreement, inclusive of all addenda, if any, executed simultaneously herewith
    constitutes the full understanding of the parties to the transaction herein and may not be amended, modified, or canceled
    except in writing signed by all parties. Should there arise any conflict between this Agreement and any other document
    preceding it, this Agreement will govern. This Agreement does not affect any previous agreement between the parties
    unless such an agreement is specifically referenced herein. This Agreement will not be affected by any subsequent
    agreement between the parties unless this Agreement is specifically referenced therein. WCG will not be permitted to
    enforce any of its rights under this Agreement if so expressed by in writing by Gene Rosen’s Law Firm.

           58. Counterparts; Fax and Electronic Signatures. This Agreement may be executed electronically and in
    counterparts. Facsimile and electronic copies of this Agreement will have the full force and effect of an original.


                       EACH UNDERSIGNED HEREBY ACCEPTS THE TERMS OF THIS AGREEMENT




                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

                                     Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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    FOR THE MERCHANT/OWNER (#1)

                       AMANDEEP SINGH, Owner
    By:
                          (Print Name and Title)                                           (Signature)

    SS#                                                            Driver License Number




    FOR THE MERCHANT/OWNER (#2)


    By:
                           (Print Name and Title)                                          (Signature)


    SS#                                                            Driver License Number




    Approved for WYNWOOD CAPITAL GROUP LLC by: _________________________________




                                    I have read and agree to the terms and conditions set forth above:

                                    ______________________________________________________________________

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                                                         GUARANTEE
            G1. Personal Guarantee of Performance. This is a personal guaranty of performance, dated 11/29/2021, of the
    Merchant Cash Advance Agreement, dated 11/29/2021 (“Agreement”), inclusive of all addenda, if any, executed
    simultaneously therewith, by and between WYNWOOD CAPITAL GROUP LLC (“WCG”) and JAR 259 FOOD CORP
    (“Merchant”). Each undersigned Guarantor hereby guarantees each Merchant’s performance of all of the representations,
    warranties, and covenants made by each Merchant to WCG in the Agreement, inclusive of all addenda, if any, executed
    simultaneously herewith, as the Agreement may be renewed, amended, extended, or otherwise modified (the
    “Guaranteed Obligations”). Each Guarantor’s obligations are due at the time of any breach by any Merchant of any
    representation, warranty, or covenant made by any Merchant in the Agreement.

             G2. Communications. WCG may use automated telephone dialing, text messaging systems, and e-mail to
    provide messages to Guarantor(s) about Merchant(s)’s account. Telephone messages may be played by a machine
    automatically when the telephone is answered, whether answered by an Owner, a Guarantor, or someone else. These
    messages may also be recorded by the recipient’s answering machine or voice mail. Each Guarantor gives WCG
    permission to call or send a text message to any telephone number given to WCG in connection with this Agreement and
    to play pre-recorded messages and/or send text messages with information about this Agreement and/or any Merchant’s
    account over the phone. Each Guarantor also gives WCG permission to communicate such information to them by e-mail.
    Each Guarantor agrees that WCG will not be liable to any of them for any such calls or electronic communications, even if
    information is communicated to an unintended recipient. Each Guarantor acknowledges that when they receive such calls
    or electronic communications, they may incur a charge from the company that provides them with telecommunications,
    wireless, and/or Internet services, and that WCG has no liability for any such charges.

              G3. Guarantor Waivers. If WCG considers any Event of Default to have taken place under the Agreement, then
    WCG may enforce its rights under this Guarantee without first seeking to obtain payment from any Merchant, any other
    guarantor, or any Collateral, Additional Collateral, or Cross‐Collateral WCG may hold pursuant to this Guarantee or any
    other agreement or guarantee. WCG does not have to notify any Guarantor of any of the following events and
    Guarantor(s) will not be released from its obligations under this Guarantee even if it is not notified of: (i) any Merchant’s
    failure to pay timely any amount owed under the Agreement; (ii) any adverse change in any Merchant’s financial condition
    or business; (iii) any sale or other disposition of any collateral securing the Guaranteed Obligations or any other guarantee
    of the Guaranteed Obligations; (iv) WCG’s acceptance of the Agreement with any Merchant; and (v) any renewal,
    extension, or other modification of the Agreement or any Merchant’s other obligations to WCG. In addition, WCG may take
    any of the following actions without releasing any Guarantor from any obligations under this Guarantee: (i) renew, extend,
    or otherwise modify the Agreement or any Merchant’s other obligations to WCG; (ii) if there is more than one Merchant,
    release a Merchant from its obligations to WCG such that at least one Merchant remains obligated to WCG; (iii) sell,
    release, impair, waive, or otherwise fail to realize upon any collateral securing the Guaranteed Obligations or any other
    guarantee of the Guaranteed Obligations; and (iv) foreclose on any collateral securing the Guaranteed Obligations or any
    other guarantee of the Guaranteed Obligations in a manner that impairs or precludes the right of Guarantor to obtain
    reimbursement for payment under the Agreement. Until the Receivables Purchased Amount and each Merchant’s other
    obligations to WCG under the Agreement and this Guarantee are paid in full, each Guarantor shall not seek
    reimbursement from any Merchant or any other guarantor for any amounts paid by it under the Agreement. Each
    Guarantor permanently waives and shall not seek to exercise any of the following rights that it may have against any
    Merchant, any other guarantor, or any collateral provided by any Merchant or any other guarantor, for any amounts paid
    by it or acts performed by it under this Guarantee: (i) subrogation; (ii) reimbursement; (iii) performance; (iv)
    indemnification; or (v) contribution.

            G4. Joint and Several Liability. The obligations hereunder of the persons or entities constituting each Guarantor
    under this Guarantee are joint and several.

             G5. Injunctive Relief. In case any Event of Default occurs and is not waived, WCG will be entitled to the issuance
    of an injunction, restraining order, or other equitable relief in WCG’s favor, subject to court or arbitrator approval,
    restraining each Guarantor’s accounts and/or receivables up to the amount due to WCG as a result of the Event of

                                     I have read and agree to the terms and conditions set forth above:

                                     ______________________________________________________________________

                                     Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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    Default, and each Guarantor will be deemed to have consented to the granting of an application for the same to any court
    or arbitral tribunal of competent jurisdiction without any prior notice to any Merchant or Guarantor and without WCG being
    required to furnish a bond or other undertaking in connection with the application.

             G6. Choice of Law. Each Guarantor acknowledges and agrees that the Agreement and this Guarantee were
    made in the State of New York, that the Purchase Price is being paid by WCG in the State of New York, that the
    Receivables Purchased Amount is being delivered to WCG in the State of New York, and that the State of New York has a
    reasonable relationship to the transactions encompassed by the Agreement and this Guarantee. This Guarantee and the
    relationship between WCG, each Merchant, and each Guarantor will be governed by and construed in accordance with
    the laws of the State of New York, without regard to any applicable principles of conflict of laws.

             G7. Venue and Forum Selection. Any litigation relating to this Agreement or this Guarantee or involving WCG on
    one side and any Merchant or any Guarantor on the other must be commenced and maintained in any court located in the
    Counties of Nassau, Kings, New York, or Sullivan in the State of New York (the “Acceptable Forums”). The parties agree
    that the Acceptable Forums are convenient, submit to the jurisdiction of the Acceptable Forums, and waive any and all
    objections to the jurisdiction or venue of the Acceptable Forums. If any litigation is initiated in any other venue or forum,
    the parties waive any right to oppose any motion or application made by any party to transfer such litigation to an
    Acceptable Forum. The parties agree that this Guarantee encompasses the transaction of business within the City of New
    York and that the Civil Court of the City of New York (“Civil Court”) will have jurisdiction over any litigation relating to this
    Guarantee that is within the jurisdictional limit of the Civil Court. In addition to the Acceptable Forums, any action or
    proceeding to enforce a judgment or arbitration award against any Merchant or Guarantor or to restrain or collect any
    amount due to WCG may be commenced and maintained in any other court of competent jurisdiction.

            G8. Jury Waiver. Each Guarantor agrees to waive trial by jury in any dispute with WCG.

           G9. Counterclaim Waiver. In any litigation or arbitration commenced by WCG, each Merchant and each
    Guarantor will not be permitted to interpose any counterclaim.

            G10. Statutes of Limitations. Each Merchant and each Guarantor agree that any claim that is not asserted
    against WCG within one year of its accrual will be time barred.

             G11. Costs. Each Merchant and each Guarantor must pay all of WCG’s reasonable costs associated with a
    breach by any Merchant of the covenants in this Agreement or this Guarantee and the enforcement thereof, including but
    not limited to collection agency fees, expert witness fees, and costs of suit.

             G12. Prejudgment and Postjudgment Interest. If WCG becomes entitled to the entry of a judgment against any
    Merchant or any Guarantor, then WCG will be entitled to the recovery of prejudgment interest at a rate of 24% per annum
    (or 16% per annum if any Merchant is a sole proprietorship), or the maximum rate permitted by applicable law if less, and
    upon entry of any such judgment, it will accrue interest at a postjudgment rate of 24% per annum (or 16% per annum if
    any Merchant is a sole proprietorship), or the maximum rate permitted by applicable law if less, which rate will govern over
    the statutory rate of interest up until actual satisfaction of the judgment.

            G13. Legal Fees. If WCG prevails in any litigation or arbitration with any Merchant or any Guarantor, then that
    Merchant and/or Guarantor must pay WCG’s reasonable attorney fees, which may include a contingency fee of up to 40%
    of the amount claimed.

            G14. Class Action Waiver. WCG, each Merchant, and each Guarantor agree that they may bring claims against
    each other relating to this Agreement only in their individual capacities, and not as a plaintiff or class action member in any
    purported class or representative proceedings.

            G15. Arbitration. Any action or dispute relating to this Agreement or this Guarantee or involving WCG on one
    side and any Merchant or any Guarantor on the other, including, but not limited to issues of arbitrability, will, at the option

                                      I have read and agree to the terms and conditions set forth above:

                                      ______________________________________________________________________

                                      Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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                                           MERCHANT CASH ADVANCE AGREEMENT

    of any party to such action or dispute, be determined by arbitration before a single arbitrator. The arbitration will be
    administered either by Arbitration Services, Inc. under its Commercial Arbitration Rules as are in effect at that time, which
    rules are available at www.arbitrationservicesinc.com, or by Mediation & Civil Arbitration, Inc. under its Commercial
    Arbitration Rules as are in effect at that time, which rules are available at www.mcarbitration.org. Once an arbitration is
    initiated with one of these arbitral forums, it must be maintained exclusively before that arbitral forum and the other arbitral
    forum specified herein may not be used. Any arbitration relating to this Agreement or this Guarantee must be conducted in
    the Counties of Nassau, New York, Queens, or Kings in the State of New York. Notwithstanding any provision of any
    applicable arbitration rules, any witness in an arbitration who does not reside in or have a place for the regular transaction
    of business located in New York City or the Counties of Nassau, Suffolk, or Westchester in the State of New York will be
    permitted to appear and testify remotely by telephone or video conferencing. In case any Event of Default occurs and is
    not waived, each Guarantor consents to WCG making an application to the arbitrator, without notice to any Merchant or
    any Guarantor, for the issuance of an injunction, restraining order, or other equitable relief in WCG’s favor, subject to court
    or arbitrator approval, restraining each Guarantor’s accounts and/or receivables up to the amount due to WCG as a result
    of the Event of Default.
              Each Guarantor acknowledges and agrees that the Agreement and this Guarantee are the product of
    communications conducted by telephone and the Internet, which are instrumentalities of interstate commerce, that the
    transactions contemplated under the Agreement and this Guarantee will be made by wire transfer and ACH, which are
    also instrumentalities of interstate commerce, and that the Agreement and this Guarantee therefore evidence a
    transaction affecting interstate commerce. Accordingly, notwithstanding any provision in the Agreement or this Guarantee
    to the contrary, all matters of arbitration relating to the Agreement or this Guarantee will be governed by and construed in
    accordance with the provisions of the Federal Arbitration Act, codified as Title 9 of the United States Code, however any
    application for injunctive relief in aid of arbitration or to confirm an arbitration award may be made under Article 75 of the
    New York Civil Practice Law and Rules. The arbitration agreement contained in this Section may also be enforced by any
    employee, agent, attorney, member, manager, officer, subsidiary, affiliate entity, successor, or assign of WCG.

             G16. Service of Process. Each Merchant and each Guarantor consent to service of process and legal notices
    made by First Class or Priority Mail delivered by the United States Postal Service and addressed to the Contact Address
    set forth on the first page of the Agreement or any other address(es) provided in writing to WCG by any Merchant or any
    Guarantor, and unless applicable law or rules provide otherwise, any such service will be deemed complete upon
    dispatch. Each Merchant and each Guarantor agrees that it will be precluded from asserting that it did not receive service
    of process or any other notice mailed to the Contact Address set forth on the first page of the Agreement if it does not
    furnish a certified mail return receipt signed by WCG demonstrating that WCG was provided with notice of a change in the
    Contact Address.

            G17. Severability. If any provision of this Guarantee is deemed invalid or unenforceable as written, it will be
    construed, to the greatest extent possible, in a manner which will render it valid and enforceable, and any limitation on the
    scope or duration of any such provision necessary to make it valid and enforceable will be deemed to be part thereof. If
    any provision of this Guarantee is deemed void, all other provisions will remain in effect.

           G18. Survival. The provisions of Sections G2, G3, G4, G5, G6, G7, G8, G9, G10, G11, G12, G13, G14, G15,
    G16, G17, G18, G19, G20, G21, and G22 shall survive any termination of this Guarantee.

            G19. Headings. Headings of the various articles and/or sections of this Guarantee are for convenience only and
    do not necessarily define, limit, describe, or construe the contents of such articles or sections.

               G20. Attorney Review. Each Guarantor acknowledges that it has had an opportunity to review this Guarantee,
    the Agreement, and all addenda with counsel of its choosing before signing the documents or has chosen not to avail
    itself of the opportunity to do so.




                                      I have read and agree to the terms and conditions set forth above:

                                      ______________________________________________________________________

                                      Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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                                          MERCHANT CASH ADVANCE AGREEMENT

            G21. Entire Agreement. This Guarantee, inclusive of all addenda, if any, executed simultaneously herewith may
    not be amended, modified, or canceled except in writing signed by all parties. Should there arise any conflict between this
    Guarantee and any other document preceding it, this Guarantee will govern. This Guarantee does not affect any previous
    agreement between the parties unless such an agreement is specifically referenced in the Agreement or herein. This
    Guarantee will not be affected by any subsequent agreement between the parties unless this Guarantee is specifically
    referenced therein.

           G22. Counterparts; Fax and Electronic Signatures. This Guarantee may be executed electronically and in
    counterparts. Facsimile and electronic copies of this Guarantee will have the full force and effect of an original.

          THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH IN THE “MERCHANT CASH
    ADVANCE AGREEMENT”, INCLUDING THE “TERMS AND CONDITIONS”, ARE HEREBY INCORPORATED IN AND
    MADE A PART OF THIS GUARANTEE. CAPITALIZED TERMS NOT DEFINED IN THIS GUARANTEE SHALL HAVE THE
    MEANING SET FORTH IN THE MERCHANT CASH ADVANCE AGREEMENT, INCLUDING THE TERMS AND
    CONDITIONS.


                       EACH UNDERSIGNED HEREBY ACCEPTS THE TERMS OF THIS GUARANTEE


    GUARANTOR (#1)

                          AMANDEEP SINGH
    By:
                             (Print Name)                                                  (Signature)

    SS#                                                              Driver License Number



    GUARANTOR (#2)


    By:
                              (Print Name)                                                   (Signature)

    SS#                                                              Driver License Number
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                                         MERCHANT CASH ADVANCE AGREEMENT

                                              BANK INFORMATION
    Dear Merchant,

            Thank you for accepting this offer from WYNWOOD CAPITAL GROUP LLC. We look forward
    to being your funding partner.
            You authorize WYNWOOD CAPITAL GROUP LLC to collect the Receivables Purchased
    Amount under this Agreement by ACH debiting your bank account with the bank listed below.
            WYNWOOD CAPITAL GROUP LLC will require viewing access to your bank account each
    business day.
            WYNWOOD CAPITAL GROUP LLC will also require viewing access to your bank account,
    prior to funding, as part of our underwriting process.
            Please fill out the form below with the information necessary to access your account.

    * Be sure to indicate capital or lower case letters.


    Name of Bank:                            CITIBANK NA
    Name of account:                         JAR 259 FOOD CORP
    Account number:                                   5540
    Routing number:
    Bank Portal Website:
    Username:
    Password:
    Security Question/Answer 1:
    Security Question/Answer 2:
    Security Question/Answer 3:
    Any other information necessary
    to access your account:

    If you have any questions please feel free to contact us directly at (305)487-8858.




                                    I have read and agree to the terms and conditions set forth above:

                                    ______________________________________________________________________

                                    Name: AMANDEEP SINGH Title: Owner Date: 11/29/2021
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                            ADDENDUM TO MERCHANT CASH ADVANCE AGREEMENT
                                       FOR ESTIMATED PAYMENTS

                    This is an Addendum, dated 11/29/2021, to the Merchant Cash Advance Agreement
            (“Agreement”), dated 11/29/2021, between WYNWOOD CAPITAL GROUP LLC (“WCG”) and
            JAR 259 FOOD CORP (“Merchant”). This Addendum incorporates the Agreement by
            reference. The terms of this Addendum will control to the extent they conflict with any of the
            terms in the Agreement.
                    Instead of debiting the 20% Specified Percentage of Merchant’s Receivables, WCG
            may instead debit $4,497.00 (“Estimated Payment”) from the Account every day. The
            Estimated Payment is intended to be an approximation of no more than the Specified
            Percentage.
                    Any Merchant may give written notice to WCG requesting that WCG conduct a
            reconciliation in order to ensure that the amount that WCG has collected equals the
            Specified Percentage of Merchant(s)’s Receivables under this Agreement. Any Merchant
            may give written notice requesting a reconciliation. A request for reconciliation may also be
            made by e-mail to Reconciliations@Wynwoodcapitalgroup.com and such notice will be
            deemed to have been received if and when WCG sends a reply e-mail (but not a read
            receipt). If such reconciliation determines that WCG collected more than it was entitled to,
            then within seven days thereafter, WCG will credit to the Account all amounts to which WCG
            was not entitled and decrease the Estimated Payment so that it is consistent with the
            Specified Percentage of Merchant(s)’s Receivables from the date of the Agreement through
            the date of the reconciliation. If such reconciliation determines that WCG collected less than
            it was entitled to, then within seven days thereafter, WCG will debit from the Account all
            additional amounts to which WCG was entitled and increase the Estimated Payment so that
            it is consistent with the Specified Percentage of Merchant(s)’s Receivables from the date of
            the Agreement through the date of the reconciliation, with the increase being subject to any
            Cap in place on collections. In order to effectuate this reconciliation, any Merchant must
            produce with its request the login and password for the Account and any and all bank
            statements and merchant statements covering the period from the date of this Agreement
            through the date of the request for a reconciliation. WCG will complete each such
            reconciliation within two business days after receipt of a written request for one
            accompanied by the information and documents required for it. Nothing herein limits the
            amount of times that such a reconciliation may be requested.

           FOR THE MERCHANT/OWNER (#1)
                         AMANDEEP SINGH                               Owner
           By:
                             (Print Name)                          (Print Title)                 (Signature)


           FOR THE MERCHANT/OWNER (#2)

           By:
                             (Print Name)                          (Print Title)                 (Signature)
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                            ADDENDUM TO MERCHANT CASH ADVANCE AGREEMENT
                                         FOR ADDITIONAL FEES

                    This is an Addendum, dated 11/29/2021, to the Merchant Cash Advance Agreement
            (“Agreement”), dated 11/29/2021, between WYNWOOD CAPITAL GROUP LLC (“WCG”)
            and JAR 259 FOOD CORP (“Merchant”). This Addendum incorporates the Agreement by
            reference. The terms of this Addendum will control to the extent they conflict with any of the
            terms in the Agreement.
                    Each Merchant may be held responsible for an NSF/ Rejected ACH Fee of $50.00
            for each time an ACH debit to the Account by WCG is returned or otherwise rejected. No
            Merchant will be held responsible for such a fee if any Merchant gives WCG advance notice
            of no more than one business day in advance that the Account has insufficient funds to be
            debited by WCG and no Merchant is otherwise in default of the terms of the Agreement.
            Each such fee may be deducted from any payment collected by WCG or may be collected
            in addition to any other payment collected by WCG under this Agreement.

           FOR THE MERCHANT/OWNER (#1)
                        AMANDEEP SINGH                               Owner
           By:
                            (Print Name)                          (Print Title)                (Signature)


           FOR THE MERCHANT/OWNER (#2)

           By:
                            (Print Name)                          (Print Title)                (Signature)
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              ADDENDUM TO MERCHANT CASH ADVANCE AGREEMENT FOR ADDITIONAL
                                 SECURITY INTERESTS

                    This is an Addendum dated 11/29/2021 to the Merchant Cash Advance
            Agreement (“Agreement”) dated 11/29/2021 between WYNWOOD CAPITAL GROUP
            LLC (“WCG”) and JAR 259 FOOD CORP (“Merchant”). This Addendum incorporates
            the Agreement by reference. The terms of this Addendum will control to the extent they
            conflict with any of the terms in the Agreement.

                    S1.   Each entity and/or sole proprietor listed below (“Additional Security
            Interest Grantor”) agrees to the following terms and conditions. All references herein to
            Additional Security Interest Grantor refer to each entity and/or sole proprietor both in the
            collective and the alternative.

                    S2.     In addition to the security interest granted by each Merchant in the
            Agreement, each Additional Security Interest Grantor grants to WCG a security interest
            in collateral (the “Additional Collateral”), that is defined as collectively: (a) all accounts,
            including without limitation, all deposit accounts, accounts‐receivable, and other
            receivables, chattel paper, documents, equipment, general intangibles, instruments, and
            inventory, as those terms are defined by Article 9 of the Uniform Commercial Code (the
            “UCC”), now or hereafter owned or acquired by that Additional Security Interest Grantor;
            and (b) all proceeds, as that term is defined by Article 9 of the UCC. Each Additional
            Security Interest Grantor acknowledges and agrees that any security interest granted to
            WCG under any other agreement between any Merchant and WCG (the “Cross‐
            Collateral”) will secure the obligations hereunder and under this Addendum. Negative
            Pledge: Each Additional Security Interest Grantor agrees not to create, incur, assume,
            or permit to exist, directly or indirectly, any lien on or with respect to any of the
            Additional Collateral or the Cross‐Collateral, as applicable.

                   S3.     Each Additional Security Interest Grantor agrees to execute any
            documents or take any action in connection with this Addendum as WCG deems
            necessary to perfect or maintain WCG’s first priority security interest in the Additional
            Collateral and the Cross‐Collateral, including the execution of any account control
            agreements. Each Additional Security Interest Grantor hereby authorizes WCG to file
            any financing statements deemed necessary by WCG to perfect or maintain WCG’s
            security interest, which financing statements may contain notification that the Additional
            Security Interest Grantor has granted a negative pledge to WCG with respect to the
            Additional Collateral and the Cross‐Collateral, and that any subsequent lienor may be
            tortiously interfering with WCG’s rights. Each Additional Security Interest Grantor shall
            be liable for and WCG may charge and collect all costs and expenses, including but not
            limited to attorney fees, which may be incurred by WCG in protecting, preserving, and
            enforcing WCG’s security interest and rights granted by that Additional Security Interest
            Grantor. Each Additional Security Interest Grantor further acknowledges that WCG may
            use another legal name and/or D/B/A or an agent when designating the Secured Party
            when WCG files the above‐referenced financing statement(s).




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                   S4.    In case any Event of Default occurs under the Agreement and is not
            waived, WCG will be entitled to the issuance of an injunction, restraining order, or other
            equitable relief in WCG’s favor, subject to court or arbitrator approval, restraining each
            Additional Security Interest Grantor’s Additional Collateral, including but not limited to
            accounts and/or receivables, up to the amount due to WCG as a result of the Event of
            Default, and each Additional Security Interest Grantor will be deemed to have
            consented to the granting of an application for the same to any court or arbitral tribunal
            of competent jurisdiction without any prior notice to any Additional Security Interest
            Grantor and without WCG being required to furnish a bond or other undertaking in
            connection with the application.

                   S5.     Each Additional Security Interest Grantor acknowledges and agrees that
            this Addendum was made in the State of New York and that the State of New York has a
            reasonable relationship to the transactions encompassed by the Agreement. This
            Addendum and the relationship between WCG, each Merchant, each Guarantor, and
            each Additional Security Interest Grantor will be governed by and construed in
            accordance with the laws of the State of New York, without regard to any applicable
            principles of conflict of laws.

                    S6.    Any litigation relating to this Addendum or involving WCG on one side and
            any Merchant, any Guarantor, or any Additional Security Interest Grantor on the other
            must be commenced and maintained in any court located in the Counties of Nassau,
            New York, or Sullivan in the State of New York (the “Acceptable Forums”). Each
            Additional Security Interest Grantor agrees that the Acceptable Forums are convenient,
            submits to the jurisdiction of the Acceptable Forums, and waives any and all objections
            to the jurisdiction or venue of the Acceptable Forums. If any litigation is initiated in any
            other venue or forum, each Additional Security Interest Grantor waives any right to
            oppose any motion or application made by any party to transfer such litigation to an
            Acceptable Forum. Each Additional Security Interest Grantor agrees that this Addendum
            encompasses the transaction of business within the City of New York and that the Civil
            Court of the City of New York (“Civil Court”) will have jurisdiction over any litigation
            relating to this Addendum that is within the jurisdictional limit of the Civil Court. In
            addition to the Acceptable Forums, any action or proceeding to enforce a judgment or
            arbitration award against any Merchant, Guarantor, or Additional Security Interest
            Grantor or to restrain or collect any amount due to WCG may be commenced and
            maintained in any other court of competent jurisdiction.

                   S7.   Each Additional Security Interest Grantor agrees to waive trial by jury in
            any dispute with WCG.

                   S8.   In any litigation or arbitration commenced by WCG, each Merchant, each
            Guarantor, and each Additional Security Interest Grantor will not be permitted to
            interpose any counterclaim.

                  S9.      Each Merchant, each Guarantor, and each Additional Security Interest
            Grantor agree that any claim that is not asserted against WCG within one year of its
            accrual will be time barred.


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                   S10. Each Merchant, each Guarantor, and each Additional Security Interest
            Grantor must pay all of WCG’s reasonable costs associated with a breach by any
            Merchant of the covenants in this Addendum and the enforcement thereof, including but
            not limited to collection agency fees, expert witness fees, and costs of suit.

                     S11. If WCG becomes entitled to the entry of a judgment against any Merchant,
            any Guarantor, or any Additional Security Interest Grantor, then WCG will be entitled to
            the recovery of prejudgment interest at a rate of 24% per annum (or 16% per annum if
            any Merchant or Additional Security Interest Grantor is a sole proprietorship), or the
            maximum rate permitted by applicable law if less, and upon entry of any such judgment,
            it will accrue interest at a rate of 24% per annum (or 16% per annum if any Merchant or
            any Additional Security Interest Grantor is a sole proprietorship), or the maximum rate
            permitted by applicable law if less, which rate will govern over the statutory rate of
            interest up until actual satisfaction of the judgment.

                   S12. If WCG prevails in any litigation or arbitration with any Merchant, any
            Guarantor, or any Additional Security Interest Grantor, then that Merchant, Guarantor,
            and/or Additional Security Interest Grantor must pay WCG’s reasonable attorney fees,
            which may include a contingency fee of up to 40% of the amount claimed.

                   S13. WCG, each Merchant, each Guarantor, and each Additional Security
            Interest Grantor agree that they may bring claims against each other relating to this
            Addendum only in their individual capacities, and not as a plaintiff or class action
            member in any purported class or representative proceedings.

                    S14. Any action or dispute relating to this Addendum or involving WCG on one
            side and any Merchant, any Guarantor, or any Additional Security Interest Grantor on
            the other, including, but not limited to issues of arbitrability, will, at the option of any
            party to such action or dispute, be determined by arbitration before a single arbitrator.
            The arbitration will be administered either by Arbitration Services, Inc. under its
            Commercial Arbitration Rules as are in effect at that time, which rules are available at
            www.arbitrationservicesinc.com, or by Mediation & Civil Arbitration, Inc. under its
            Commercial Arbitration Rules as are in effect at that time, which rules are available at
            www.mcarbitration.org. Once an arbitration is initiated with one of these arbitral forums,
            it must be maintained exclusively before that forum. Any arbitration relating to this
            Agreement must be conducted in the Counties of Nassau, New York, Queens, or Kings
            in the State of New York. Notwithstanding any provision of any applicable arbitration
            rules, any witness in an arbitration who does not reside in or have a place for the
            regular transaction of business located in New York City or the Counties of Nassau,
            Suffolk, or Westchester in the State of New York will be permitted to appear and testify
            remotely by telephone or video conferencing. The arbitration agreement contained
            herein may also be enforced by any employee, agent, attorney, member, manager,
            officer, subsidiary, affiliate entity, successor, or assign of WCG. In case any Event of
            Default occurs and is not waived, each Additional Security Interest Grantor consents to
            WCG making an application to the arbitrator, without notice to any Merchant, any
            Guarantor, or any Additional Security Interest Grantor for the issuance of an injunction,

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            restraining order, or other equitable relief in WCG’s favor, subject to court or arbitrator
            approval, restraining each Additional Security Interest Grantor’s Additional Collateral,
            including but not limited to accounts and/or receivables up to the amount due to WCG
            as a result of the Event of Default.

                    S15.  Each Additional Security Interest Grantor acknowledges and agrees that
            this Addendum is the product of communications conducted by telephone and the
            Internet, which are instrumentalities of interstate commerce, that the transactions
            contemplated under this Addendum will be made by instrumentalities of interstate
            commerce, and that this Agreement therefore evidences a transaction affecting
            interstate commerce. Accordingly, notwithstanding any provision in the Agreement or
            this Addendum to the contrary, all matters of arbitration relating to the Agreement or this
            Addendum will be governed by and construed in accordance with the provisions of the
            Federal Arbitration Act, codified as Title 9 of the United States Code, however any
            application for injunctive relief in aid of arbitration or to confirm an arbitration award may
            be made under Article 75 of the New York Civil Practice Law and Rules. The arbitration
            agreement contained in this Section may also be enforced by any employee, agent,
            attorney, member, manager, officer, subsidiary, affiliate entity, successor, or assign of
            WCG.

                    S16.  Each Additional Security Interest Grantor consents to service of process
            and legal notices made by First Class or Priority Mail delivered by the United States
            Postal Service and addressed to its corresponding Contact Address set forth herein or
            any other address(es) provided in writing to WCG by any Merchant, any Guarantor, or
            any Additional Security Interest Grantor, and unless applicable law or rules provide
            otherwise, any such service will be deemed complete upon dispatch. Each Merchant,
            each Guarantor, and each Additional Security Interest Grantor agree that it will be
            precluded from asserting that it did not receive service of process or any other notice
            mailed to the Contact Address set forth on the first page of the Agreement if it does not
            furnish a certified mail return receipt signed by WCG demonstrating that WCG was
            provided with notice of a change in the Contact Address.




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                               JAR 259 FOOD CORP                                         XX-XXXXXXX

                 Legal Name of Entity Granting Security Interest                              TIN

              Contact Address 520 South Broadway, Hicksville, NY 11801




                               AMANDEEP SINGH, Owner
             By:
                                   (Print Name and Title)                                (Signature)



                           MAHARAJA SUPERMARKET

                 Legal Name of Entity Granting Security Interest                            TIN

             Contact Address            1620 HILLSIDE AVE, , NEW HYDE PARK, NY, 11040-2604




                               AMANDEEP SINGH, Owner
              By:
                                   (Print Name and Title)                                (Signature)




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                             DECLARATION OF ORDINARY COURSE OF BUSINESS

                   Each undersigned hereby declares the following:
                   1.     I am duly authorized to sign the Merchant Cash Advance Agreement
            (“Agreement”), dated 11/29/2021, between WYNWOOD CAPITAL GROUP LLC
            (“WCG”) and JAR 259 FOOD CORP (“Merchant”) on behalf of Merchant.
                   2.     This Declaration incorporates by reference the Agreement and every
            addendum to it.
                   3.     I acknowledge that I am authorized to sign the Agreement and every
            addendum to it on behalf of each Merchant.
                   4.     I acknowledge that I had sufficient time to review the Agreement and every
            addendum to it before signing it.
                   5.     I acknowledge that I had an opportunity to seek legal advice from counsel
            of my choosing before signing the Agreement and every addendum to it.
                   6.     I acknowledge that each Merchant is entering into the Agreement
            voluntarily and without any coercion.
                   7.     I acknowledge that each Merchant is entering into the Agreement in the
            ordinary course of its business.
                   8.     I acknowledge that the payments to be made from any Merchant to WCG
            under the Agreement are being made in the ordinary course of each Merchant’s
            business.
                   9.     I am aware of each Merchant’s right to request a reconciliation of the
            payments made under the Agreement at any time.
                   10.    I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING
            IS TRUE AND CORRECT.


                                          11/29/2021
            Executed on
                                             (Date)

           FOR THE MERCHANT/OWNER (#1)
                        AMANDEEP SINGH                                Owner
           By:
                            (Print Name)                           (Print Title)             (Signature)


           FOR THE MERCHANT/OWNER (#2)

           By:
                            (Print Name)                           (Print Title)             (Signature)
